                      Case 1:24-mj-00263-GMH Document 1 Filed 08/20/24 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Columbia
                 United St.at.es of America                         )
                               V.                                   )
                                                                    )      Case No.
                   Nathan Thomsberry
                                                                    )
                    DOB:XXXXXX                                      )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant. in this case, state that the following is trne to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of __________ in the
                         in the Distiict of       Columbia      , the defendant(s) violated:
            Code Section                                                      Offense Description
        This offense is briefly described as follows:
        18 U.S.C. § 1752(a)(1) - Entering or Remaining in a Restricted Building or Grounds;
        18 U.S.C. § 1752(a)(2) - Disorderly or Disruptive Conduct in a Restricted Building or Grounds;
        18 U.S.C. § 1752(a)(4) - Act of Physical Violence in a Restricted Building or Grounds;
        40 U.S.C. § 5104(e)(2)(D) - Disorderly or Disruptive Conduct in a Capitol building or Grounds;
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder;
        18 U.S.C. § 111(a)(1) - Assaulting, Resisting, or Impeding Certain Officers.


          This criminal complaint is based on these facts:
  See attached statement of facts.




         N Continued on the attached sheet.


                                                                                               Complainant's signature




Attested to by the applicant in accordance with the requirements of Fed. R. C1im. P. 4.1
by telephone.

Date:            08/20/2024
                                                                                                  Judge's signature

City and state:                         Washington, D.C.                           G. Michael Harvey, U.S. Magistrate Judge
                                                                                                Printed name and title
